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                                                                      JNSEL/FI
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          U N IT ED STA T ES D ISTR IC T C O U RT
                      DISTRICT OF NEVADA
                                      -
                                          00 0-
UNITED STATES OF AMERICA,                  ) SUPERSEDING CRIMINALINDICTMENT
                                           )
                   PLAINTIFF,              ) 2:12-cr-060-MM D-VCF
                                           )
VS,                                        ) VIOLATIONS:
                                           )
PAULW EXLER,                               ) 18 U.S.C. 52422(b) Coercion and
                                           ) Enticement',
                   DEFENDANT. .            )
                                             18 U.S.C.j2252A(a)(2)-ReceiptofChild
                                              Pornography;
                                              18U.& C.j2252A(a)(5)(B)-Possessionof
                                              Child Pornography;
                                              18 U.S.C .:2253 -Crim inalFodeiture
                          .
                          .

THE GRAND JURY CHARöES
                   .,
                    ;: TlkAi
                          j. :
                                   CO UNT O NE
                              Coercion and Enticem ent

             Between on oraboutNovem ber8,2011 and on oraboutDecember6,2011,
in the State and FederalDistrictofNevada and elsew here,
                                  PAUL W EXLER:

defendantherein,did use a facilik ofjnterstate commerce to knowinglypersuade,induce,
and entice,and to attem ptto know inglypersuade,induce,and entice an individualwho has
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notattained the age of18 years to engage in any sexualactivity forwhich any person can
be charged with a crim inaloffense underfederal,state and IocalIaw ,in violationofTitle 18,

United States Code,Section2422(1$.
                                     CO UNT > 0
                              ReceiptofChild Pornography

             From an unknown time to gn:
                                       L
                                       praboutDecember6,2011,in the State and
FederalDistrictofNevada,
                                      PAUL W EXLER,
defendantherein,did knowingl
                           y receive anychild pornography,as defined inTitle 18,United

States Code,Sedion 2256(8),thathad been shipped and transported in and affecting
interstate and foreign commbrce by any means,including by computer'
                             .
                                      ''
                                                                  ,orthathad been
shipped and transpoded using @ny m eans and facility ofinterstate and foreign com m erce,
inviolation ofTitle 18,United States Code,Section 225M (a)(2)and (b).
                                   COUNT THREE
                            Possession ofChild Pornography

             From an unknown time to on oraboutDecem ber6,2011,in the State and
FederalDistrictofNevada,          '
                                              ''
                                      . . '., . ..   ;'


                                      PAUL W EXLER,
defendant herein, did knowingly possess material which contains an im age of child
pornography,as defined in Title 18,United States Code,Sedion 2256(8),thathad been
shipped and transported using any m eans and facility ofinterstate and foreign com m erce'
                                                                                         ,
had beenshipped and transrp rted in and affecting interstate and foreign com m erce'
                                                                                   ,orwas
produced using m aterials thathad,been m ailed,shipped and transported in and alecting
interstate and foreign com merce, including by com puter,in violation ofTitle 18, Uni
                                                                                    ted
States Code,Section 2252A(a)(5)(B).
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                              FO RFEITURE A LLEGATIO N
               As a resul
                        tofcom m iding the o
                                           'fenses in violation ofTitle 18, United Stétes

Code,Sections 2422(b),2252A(a)(2)and 2252A(a)(5)(B),setforth above,
                                        PA U L W EX LER ,
defendantherein,shallforfeitto the United States,pursuantto Title 18,United States Code,
Sections2253(a)(1)and2253(a)(3),aIIvisualdepictionsdescribedinTitle 18,UnitedStates
Code, Sections 2251,2251A, 2252, and 2252A and aII items containing such visual
depictions,which were transpoded,shipped and received in violation ofTitle 18,United
States Code,Section 225% and aIIproperty,realand personal,used and intended to be
used to com m itand prom ote the com m ission ofthe aforestated offense,including butnot
lim itedto,thefollow ing properties:com puterim ages,including m oviefiles,depicting a m inor
engaging in sexually explicitconductand the diskeqes and hard drives on w hich they are
m aintained.                        .
               DATED:thi        day ofAugust,2012.
               A TRUE BILL:


                                                /S/
                                    FO REPERSON O F THE G RAND JURY

DANIEL G .BO GDEN
united states Attorney



 ANCY J.          E
AssistantUni      States Attorney




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